       Case 1:21-cr-00225-DLF Document 43 Filed 05/16/22 Page 1 of 4




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )       Case No. 21-cr-225 (DLF)
                                       )
TRENISS JEWELL EVANS III,              )
                                       )
      Defendant.                       )


                   MOTION FOR EXTENSION OF TIME
               TO FILE SENTENCING RECOMMENDATION

TO THE HONORABLE DABNEY L. FRIEDRICH, UNITED STATES
DISTRICT JUDGE FOR THE DISTRICT OF COLUMBIA:

      Now comes Defendant, TRENISS JEWELL EVANS III, by and through his

undersigned counsel, and respectfully moves this Honorable Court for an order

granting Defendant 30 days’ extension of time to file sentencing recommendation.

      On May 2, the Government filed its Objections to Presentence Investigation

Report, which made various accusations and suggestions regarding Defendant’s

financial status and appears to argue Mr. Evans has been inconsistent in his

income declarations. Mr. Evans works in the sales field and has both a base income

and an indefinite bonus income which fluctuates significantly from year to year.

      We are awaiting additional financial information regarding Mr. Evans’

financial state, and this information is necessary to respond to the Government.

      Additionally, it appears the Government is seeking to have Mr. Evans

sentenced for allegations which the Government has previously agreed to dismiss.

Counsel seeks additional time to assess and brief the implications of the sentence.


                                           1
        Case 1:21-cr-00225-DLF Document 43 Filed 05/16/22 Page 2 of 4




                                        I.
      Defendant’s Sentencing Hearing is scheduled for May 31, 2022, at 11:00 a.m.
                                        II.
      Undersigned Counsel respectfully requests continuance so that Counsel may

properly investigate and prepare a response to the Government's allegations.

                                       III.
      Undersigned Counsel respectfully requests a 30-day extension of time.
                                       IV.
      Undersigned counsel has emailed Assistant U.S. Attorney Francesco Valentini.

Mr. Valentini stated that the government takes no position with respect to Mr.

Evans’s request for a 30-day extension of time. The government respectfully requests

that, if Mr. Evans’s request for an extension is granted, an extension of the same

length also be applied to the deadline for the government’s sentencing memorandum.

       This Motion is made not for the purposes of delay.

       WHEREFORE, PREMISES CONSIDERED, Defendant, TRENISS JEWELL

 EVANS III respectfully requests this Honorable Court to grant this Motion for

 Continuance, and for such other and further relief as this Honorable Court deems

 just and proper.

 Dated: May 16, 2022                  /s/ John M. Pierce
                                      John M. Pierce
                                      21550 Oxnard Street 3d Floor, PMB#172
                                      Woodland Hills, CA 91367
                                      Tel: (213) 279-7846
                                      Email: jpierce@johnpiercelaw.com

                                      Attorneys for Defendant Treniss Jewells
                                      Evans III



                                         2
          Case 1:21-cr-00225-DLF Document 43 Filed 05/16/22 Page 3 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that, on May 16, 2022, this motion was filed via the

Court’s electronic filing system, which constitutes service upon all counsel of

record.


                                        /s/ John M. Pierce
                                        John M. Pierce




                                         3
       Case 1:21-cr-00225-DLF Document 43 Filed 05/16/22 Page 4 of 4




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA           )
                                   )
v.                                 )      Case No. 21-cr-225 (DLF)
                                   )
TRENISS JEWELL EVANS III,          )
                                   )
      Defendant.                   )


                                  ORDER

       On this date came on to be considered Defendant TRENISS JEWELL

 EVANS’ Unopposed Motion for Continuance, and said Motion is hereby

     GRANTED       DENIED.

 SIGNED on this the    day of            , 2021.



                                       HONORABLE DABNEY L. FRIEDRICH
                                       UNITED STATES DISTRICT JUDGE
